Case 5:20-cv-02352-JGB-SP
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 12

 13                      UNITED STATES DISTRICT COURT

 14                     CENTRAL DISTRICT OF CALIFORNIA

 15

 16
      ROSANNE VRUGTMAN, TAMMY
 17   GILLINGWATER, and NICOLE
      KRUZICK, individually, and for all      Case No. 5:20-cv-02352 JGB-SP
 18   others similarly situated,
                        Plaintiffs,           NOTICE OF MOTION AND
 19
                                              MEMORANDUM OF LAW IN
 20         –against–                         SUPPORT OF MOTION FOR
 21   IT’S JUST LUNCH                         CLASS CERTIFICATION, FOR
      INTERNATIONAL LLC, IJL US               APPOINTMENT OF CLASS
 22   LLC, IJL CANADA INC.
                                              REPRESENTATIVE AND
 23                     Defendants.           CLASS COUNSEL, AND FOR
                                              LEAVE TO FILE THIRD
 24
                                              AMENDED COMPLAINT
 25
                                              DATE: May 15, 2023
 26
                                              TIME: 9:00 a.m.
 27                                           COURTROOM: 1
 28                                           JUDGE: Hon. Jesus G. Bernal
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  1                               NOTICE OF MOTION
  2   TO DEFENDANTS AND THEIR ATTORNEY OF RECORD:
  3         PLEASE TAKE NOTICE that on May 15, 2023, or as soon thereafter as
  4   the matter may be heard in courtroom 1 of the above-caption Court, located
  5   at 3470 Twelfth Street, Riverside, CA 92501, Plaintiffs Rosanne Vrugtman
  6   (“Vrugtman”), Tammy Gillingwater (“Gillingwater”) and Nicole Kruzick
  7   (“Kruzick”) will and hereby do move the Court to grant class certification
  8   pursuant to Rule 23 of the Federal Rules of Civil Procedure. The grounds for
  9   the motion for class certification and for appointment of Class Counsel are as
 10   follows:
 11        1) The proposed Classes satisfy the requirements of Rule 23(a) of the
 12           Federal Rules of Civil Procedure because the members of the
 13           proposed Classes are so numerous that joinder is impracticable, there
 14           are questions of law or fact common to the members of the Classes,
 15           the claims of the Plaintiffs are typical of the claims of other members
 16           of the Classes, and the Plaintiffs will fairly and adequately protect the
 17           interests of the Class.
 18        2) The proposed Classes satisfy the prerequisites of Rule 23(b)(3) of the
 19           Federal Rules of Civil Procedure because common questions of law
 20           and fact predominate, and a class action is the superior method of
 21           adjudicating the claims asserted here.
 22        3) The law firms Balestriere Fariello and Kabateck LLP (“KBK”) should
 23           be appointed as Class Counsel because of the work counsel has done
 24           in identifying and investigating the potential claims in the action and
 25           in prosecuting this action to the verge of trial; counsel’s experience in
 26           handling class actions, other complex litigation, and the types of
 27           claims asserted in the action; counsel’s knowledge of the applicable




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  1             law; and the resources that counsel will commit to representing the
  2             Classes and has committed to the Classes over the last three years.
  3           Plaintiffs also move for leave to file the attached Third Amended
  4   Complaint, which adjusts the class definition to cover defrauded IJL
  5   customers Nationwide by adding the following language to paragraph 70 of
  6   the complaint, on page 9, lines 16 through 18:
  7   National Class:
  8           All United States residents who joined IJL US on or after September 12,
  9   2019.
 10           These Motions are based on this Notice, the attached Memorandum of
 11   Points and Authorities, the declarations of John G. Balestriere and Anastasia
 12   K. Mazella; the Court’s file and records in this action; and such arguments as
 13   may be presented at the hearing on this motion.
 14

 15

 16

 17   Dated: April 17, 2023                BALESTRIERE FARIELLO

 18                                               By: ___________________

 19                                                 John G. Balestriere*

 20                                                 Matthew W. Schmidt*

 21                                                 Attorney for Plaintiffs and Classes

 22                                                *Admitted Pro hac vice

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  1             MEMORANDUM OF POINTS AND AUTHORITIES1
  2                        I.    PRELIMINARY STATEMENT
  3         Defendants It’s Just Lunch International LLC and IJL US LLC
  4   (collectively “IJL” or the “Company”) engaged in a uniform and systematic
  5   course of fraud against consumers by misstating the nature of IJL’s so-called
  6   “personalized matchmaking service.” Rather than, as it advertises, offering
  7   individualized matchmaker services based on each customer’s individual
  8   wishes, IJL is in fact designed, once it lures consumers in to pay thousands of
  9   dollars each for its service, to efficiently “match” its clients with anyone who
 10   meets a superficial list of interests. This is not a “personalized” matchmaking
 11   service at all, but an example of the same kind of fraud that resulted in IJL
 12   settling a similar class action barely months before the Class Period in this
 13   action began.
 14          Due to IJL’s structure—including the fact that it employs fewer than
 15   one matchmaker per        active users—it is structurally impossible for IJL to
 16   fulfill the promises made in its advertisements. This not only violates the
 17   consumer protection laws of California, Nevada, and Virginia, but makes this
 18   action perfectly suited for class-wide adjudication.
 19         Plaintiffs Vrugtman, Gillingwater,2 and Kruzick (“Plaintiffs”) seek to
 20   certify a nationwide class (the “Class” or the “Nationwide Class”), with
 21   subclasses of current and former California and Virginia residents (the
 22   “California Subclass” and the “Virginia Subclass” respectively; combined


      1All exhibits referenced herein are defined in the Declaration of John G
      Balestriere in Support of this Motion.
      2 Defendant IJL Canada Inc., the IJL franchise that had a relationship with
      Plaintiff Gillingwater, became defunct during the pendency of this lawsuit.
      (See Ex. B, Transcript Excerpts from Deposition of Rachel Wilson, at 64:19–
      25.) Accordingly, Plaintiff Gillingwater does not seek to represent a class, but
      her testimony is discussed herein as further evidence of IJL’s uniform
      conduct making class certification appropriate.


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  1   with the Nationwide Class, the “Classes”). Plaintiffs assert nine causes of
  2   action, including violations of Nevada consumer protection laws on behalf
  3   of the Class for the Nationwide Class and California and Virginia residents
  4   for the respective subclasses of those states.
  5         This action is ideally suited for class-wide adjudication. As set forth
  6   further below, Plaintiffs have met their burden of establishing each element
  7   required by Federal Rule of Civil Procedure (“Rule”) 23(a) and 23(b)(3).
  8         First, the Classes are so numerous that individualized adjudication
  9   would be unworkable. By IJL’s own admission, the proposed California and
 10   Virginia Subclasses alone consist of more than 1,800 individuals, and the
 11   National Class contains               more. This well exceeds the 40-person
 12   requirement for presumptive numerosity.
 13         Second, common issues of law and fact predominate. As IJL’s senior
 14   executives admitted in detail at their depositions, IJL is structurally designed
 15   in a way that makes it impossible for it to fulfill the promises it makes in its
 16   advertisements and instructs its salespersons to deliver to potential clients.
 17   Far from providing a personalized, individualized matchmaking service—a
 18   statement that is not puffery but describes a specific type of service—IJL in
 19   truth is no better than a free dating website. But unlike free dating websites,
 20   IJL charges customers thousands of dollars simply to have its “matchmakers”
 21   input data and then email clients about their “matches.” And as Plaintiffs
 22   explained at their depositions, each was harmed by IJL in uniform way—
 23   paying for a service that had no value—that was the logical and expected
 24   result of IJL’s system.
 25         Third, Plaintiffs Vrugtman’s and Kruzick’s claims are each typical of
 26   the Classes. Each signed up for IJL based on IJL’s representations of
 27   individualized matchmaking and each suffered harm that was the proximate
 28   result of IJL’s knowing failure to provide the service it promised. As



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   1   discussed in further length below, despite IJL’s counsel’s repeated attempts
   2   to elicit testimony from each Plaintiff admitting that their harm was specific
   3   to themselves, the record shows that each Plaintiff’s testimony explained in
   4   detail how the harm done to them was the same harm that applies to
   5   members of all the Classes.
   6         Fourth, Plaintiffs have no conflict of interest with other class members
   7   and will adequately represent the interests of the proposed class. Plaintiffs’
   8   counsel—Balestriere Fariello and Kabateck LLP (“KBK”)—similarly have
   9   considerable experience and success in litigating class actions and provide
  10   adequate class representation. Indeed, Balestriere Fariello is uniquely suited
  11   to represent the Classes’ interests as it previously litigated similar claims in
  12   the United States District Court for the Southern District of New York, where
  13   Balestriere Fariello achieved class certification and a favorable class-wide
  14   settlement providing millions in compensation to class members. KBK
  15   similarly has considerable experience in litigating class actions, especially in
  16   this District. Together, both Balestriere Fariello and KBK have adequately
  17   litigated this matter from inception to the verge of trial and shall continue to
  18   adequately prosecute this action and protect the interests of the Classes.
  19         Lastly, the proposed Classes satisfy the requirement of Rule 23(b)(3)
  20   because common class-wide issues predominate due to the uniform nature
  21   of IJL’s false representations which resulted in class members uniformly
  22   failing to obtain the services they believed they were purchasing. This is
  23   shown from uniform evidence, including IJL’s training manuals, testimony
  24   from their executives as to their internal processes, and other internal
  25   documents such as IJL’s client files from its Customer Relationship
  26   Management (“CRM”) system, which are at the heart of IJL’s system that
  27   makes it effectively impossible for its clients to receive the services they paid




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   1   for. Damages are also easily calculable based on the amount of money that
   2   each member paid to IJL.
   3         The Court should also permit Plaintiffs to file a Third Amended
   4   Complaint with an updated class definition to include a National Class. This
   5   amendment is appropriate because discovery in this action has revealed that
   6   the nature of IJL’s fraud is indeed uniform across its customers Nationwide,
   7   so IJL will suffer no prejudice. Not only is there no relevant discovery that
   8   IJL needs to seek from the expanded class, but Plaintiffs initially pleaded a
   9   Nationwide class and have continued to assert claims under Nevada’s
  10   consumer protection laws which, due to IJL’s choice of law provision in its
  11   contracts, apply to the full National Class. Nor will this amendment cause
  12   any delay, and in fact amendment serves judicial economy as it prevents the
  13   need for a separate action brought by the members of the proposed National
  14   Class to enforce their rights.
  15         IJL has defrauded and continues to defraud                   of consumers
  16   by failing to provide the service that IJL advertises. This fraud is foundational
  17   to IJL’s entire corporate design, from the fact that it fails to employ sufficient
  18   “matchmakers” to provide the services that IJL promises, to how it designs
  19   its intake process to create false overlap of interests through leading
  20   questions. This case is ideally suited to resolution on a class-wide basis, and
  21   Plaintiffs respectfully request that this Court certify the Classes defined
  22   herein and designate Plaintiffs’ counsel as Class Counsel pursuant to
  23   Rule 23(g).
  24                            II.     STATEMENT OF FACTS
  25         IJL positions itself as a premier “personalized” dating service, offering
  26   to connect individuals interested in romantic relationships. (Second
  27   Amended Complaint, Dkt. No. 29 (“SAC”) ¶ 1.) The Company claims its
  28   highly trained experts offer personalized, sophisticated, and thoughtful



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   1   matchmaking services. (Id.) IJL, which advertises its services as “dating for
   2   busy professionals,” was founded in 1991 in Chicago by a marketing
   3   executive named Andrea McGinty. (Id. at ¶ 17.) Since its formation, IJL has
   4   had tens of thousands of clients around the world, including in the United
   5   States, Canada, Australia, the United Kingdom, and Ireland. (Id. at ¶ 18.)
   6         IJL advertises via its website, TV ads, social media ads, in-flight
   7   magazines, and direct marketing emails. (Ex. B at 68:22–69:14.) IJL’s primary
   8   marketing proposition, displayed prominently on all advertisements, is that
   9   it is a “personalized matchmaking service.” (Ex. C, Hemispheres Magazine
  10   articles, at IJL000347, IJL000351, IJL000353, IJL000355, IJL000357, IJL000359;
  11   Ex. D, Screenshots from IJL’s Website at IJL000325, IJL000332; Ex. E,
  12   Screenshots of the Privacy Statement and Terms of Service from IJL’s
  13   Website, IJL000338–339, IJL000341; and Ex. F, IJL advertisements, IJL000342–
  14   345; see Ex. B at 68:24–69:24.)
  15         IJL currently has between                      “active” clients, meaning a
  16   client who is “actively dating” with IJL.” (Ex. B at 45:4–9, 49:10–23.) As IJL’s
  17   CEO Rachel Wilson explained at her deposition, clients can go on “hold”
  18   status either voluntarily—for instance, when they meet a match they like and
  19   do not wish to be set up on further dates—or if the client does not respond to
  20   IJL for three consecutive days. (Id. at 45:10–17.)
  21         When a potential client contacts IJL, they speak with a salesperson,
  22   who, notwithstanding their training focusing on simply bringing in paying
  23   customers to IJL, IJL nonetheless calls a “dating specialist.” (Id. at 42:6–15.)
  24   IJL currently employs 30 salespeople who go by the name of dating
  25   specialists (including three sales managers), who make up nearly half of its
  26   65 employees. (Id. at 41:25–42:5; see Ex. G, Transcript Excerpts from
  27   Deposition of Sandra Hatton, at 17:17–21.) As IJL’s Vice President of Sales,
  28   Sandra Hatton, to whom all dating specialists report, explained in her



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   1   deposition, a typical initial call lasts 45 minutes to an hour, during which the
   2   dating specialist is “required” to “follow a script” and “follow their training
   3   materials.” (Ex. G at 28:4–7.)
   4         The “script” for this initial call is called the “ISR Phone Presentation,”
   5   which stands for “Inside Sales Representative” Phone Presentation. (Ex. G at
   6   27:20–22, 28:4–7.) In the first ten sentences of what IJL calls its “script,” the
   7   IJL sales representative is instructed to make two separate representations
   8   that IJL is a “personalized matchmaking service”:
   9         • “Okay, first and foremost we are a personalized matchmaking service
  10            and we specialize in setting busy people up on first dates over lunch,
  11            brunch or drinks after work.”
  12         • “One of the reasons we’re so successful is because we are a very
  13            personal matchmaking service so you will be working one-on-one with
  14            your very own matchmaker.”
  15   (Ex. H, IJL Dating Specialist Manual, at IJL000007 (emphasis added).) At the
  16   end of the process, a successful sales call results in the potential client signing
  17   a contract with IJL, which, in the case of U.S. residents, includes a Nevada
  18   choice of law provision. (See Ex. I, Kruzick Client File, at IJL000398; Ex. J,
  19   Vrugtman Client File at IJL000385.)
  20         IJL previously faced a class action suit, Rodriguez v. It’s Just Lunch
  21   International, Case. No. 07-CV-09227 (S.D.N.Y.), for similar conduct,
  22   represented by Balestriere Fariello and reaching a class-wide settlement
  23   creating a $4.75 million fund for as well as providing injunctive relief. See id.
  24   at Dkt. No. 475. There, IJL engaged in a scheme where its sales staff, among
  25   other wrongdoings like here, used scripts where it instructed its salespersons
  26   to promise that they had dates in mind for potential customer even when this
  27   was false. See id. at Dkt. No. 199. While IJL has gone out of its way to fix some
  28   of this very specific conduct—its training scripts no longer affirmatively



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   1   instruct its salespersons to lie regarding having specific dates in mind—it has
   2   only doubled down on other behavior, described herein, that now continues
   3   to defraud consumers seeking a personalized, premium dating service
   4   costing thousands of dollars each.
   5         Despite its claimed focus on matchmakers, IJL employs only 15
   6   matchmakers—well under half the number of salespersons that IJL employs,
   7   even though providing personalized service to the thousands of IJL
   8   customers would take much more time than any salesperson (who signs up
   9   a customer then moves on) need spend with a customer. (Ex. B at 43:1–2.)
  10   These matchmakers are not only responsible for selecting matches, but they
  11   are also charged with the time-consuming day-to-day aspects of the client
  12   relationship, including client contact, coordinating dates, making restaurant
  13   reservations, reminding clients of dates, receiving client feedback, and, in the
  14   words of IJL’s CEO, “anything that has to do with the client experience.” (Id.
  15   at 43:3–16.) And these 15 individuals supposedly do all this for the thousands
  16   of dollars that each Class member pays, notwithstanding that each
  17   matchmaker has on average over             customer relationships—meaning that
  18   a matchmaker working 40 hours per week would have                    per customer
  19   to provide all these services. (See id.)
  20         IJL matchmakers and other staff work through IJL’s CRM system,
  21   through which they access and update client files, which contain client
  22   information, including their dating profile and interests, and a log of
  23   communications they have with IJL. (See Ex. I at IJL000400–411, Ex. J at
  24   IJL000387–395, Ex. K, Gillingwater Client File, at IJL000364–381.)
  25         Plaintiff Vrugtman, a Virginia resident, is a writer, editor, and
  26   publisher, who holds five degrees, including two Master’s degrees and a
  27   PhD. (Ex. L, Transcript Excerpts from Deposition of Rosanne Vrugtman, at
  28   25:9–26:16.) Vrugtman joined IJL on July 20, 2020, purchasing a Virginia



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   1   “Gold” membership for $2,595. (See Ex. J at IJL000384–386.) For this,
   2   Vrugtman was promised at least 12 dates. (Id.) However, as Vrugtman
   3   testified, she did not receive “the customized, personalized matching that
   4   [IJL] promise[d] on [its] website and in [its] contract.” (Ex. L at 41:10–18; see
   5   id. at 48:6–18 (“I was expecting them to set me up with eligible people who
   6   met my requirements and for whom I met their requirements. That never
   7   happened.”).) On the three “matches” that IJL arranged for Vrugtman, two
   8   cancelled after Vrugtman expressed concern to IJL about a lack of
   9   information about why she was matched with them, and a third—despite
  10   Vrugtman’s stated importance of a date sharing her interest in reading and
  11   literature—read “only technical manuals.” (Id. at 48:19–49:17.)
  12         Plaintiff Kruzick, a California resident during the relevant time period,
  13   is a university and culinary school graduate who works in glass-glazing and
  14   food styling. (Ex. M, Transcript Excerpts from Deposition of Nicole Kruzick,
  15   at 17:3–18:18.) Kruzick joined IJL on June 25, 2020, purchasing a California
  16   “Platinum” membership for $2,495. (See Ex. I at IJL000398–399.) For this,
  17   Kruzick was promised at least 12 dates. (Id.) Despite promises of
  18   personalized matchmaking, Kruzick’s first date was with a person who was
  19   “the opposite of everything that [she] had expressed that [she] was looking
  20   for in a match.” (Ex. M at 40:2–4.) These included objective criteria such a lack
  21   of a flexible work schedule, financial stability, and someone who was
  22   “seeking a relationship.” (Id. at 40:5–10.) Nor did Kruzick’s match conceal
  23   this information: on their virtual date, he readily admitted that he was “just
  24   looking to meet people” and not interested in a relationship. Further, he was
  25   a professional DJ who worked weekends and evenings. (Id. at 41:24–42:17.)
  26   Kruzick   received    no   other   dates,   and   when     Kruzick    attempted
  27   (unsuccessfully) to obtain a refund, she was admonished for “inappropriate”




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   1   conduct towards IJL staff and threatened with cancellation of her
   2   membership. (Id. at 108:17–109:10, 112:14–17.)
   3         Plaintiff Gillingwater, a resident of Toronto, Canada, is a medical sales
   4   manager. (Ex. N, Transcript Excerpts from Deposition of Tammy
   5   Gillingwater, at 8:14–9:4.) Gillingwater joined IJL on September 24, 2019,
   6   purchasing a “Photo Membership” for $6,160 Canadian, and was promised
   7   at least five dates. (See Ex. K at IJL000363.) When signing up with IJL,
   8   Gillingwater was promised that IJL provided “personal matchmakers” that
   9   “personally handpick[ed] and vet[ted] potential dates” based on “what
  10   characteristics [Gillingwater] look[ed] for in a partner. (Ex. N at 48:7–15.)
  11   Gillingwater specifically requested that, despite IJL’s usual policies of parties
  12   splitting the cost of meals at dates, her date pay the full cost of the meal, as
  13   she “would never date a gentleman that would not pick up the check.” (Id. at
  14   50:24–60:23.) IJL represented to her it would comply with this request and
  15   “put a note in [her] file,” but “[e]ach time,” she was presented with separate
  16   checks, causing embarrassment on her dates. (Id.) Gillingwater was also
  17   repeatedly matched with men who failed to meet her stated criteria,
  18   including a healthy and fit lifestyle, a lack of common interests, and were not
  19   consistent with Gillingwater’s desired physical descriptions. (Id.) Despite the
  20   lack of matches that met Gillingwater’s criteria, Gillingwater was never told
  21   that IJL could not fufill her matches. Instead, she was “told [IJL had] plenty
  22   of men” meeting her criteria. (Id.)
  23             III.   APPLICABLE RULES AND CLASS DEFINITIONS
  24         Class certification in the District Court is governed by Rule 23. A party
  25   seeking class certification must first show that the class action satisfies the
  26   following four requirements set forth in Rule 23(a):
  27         (1) The class is so numerous that joinder of all members is
  28             impracticable [numerosity],



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   1         (2) There are questions of law or fact common to the class
   2             [commonality],
   3         (3) The claims or defenses of the representative parties are typical
   4             of the claims or defenses of the class [typicality], and
   5         (4) The representative parties will fairly and adequately protect the
   6             interests of the class [adequacy].
   7   Fed R. Civ. P. 23(a) (emphasis added).
   8         The party seeking class certification must also satisfy one of the
   9   categories set forth in Rule 23(b). Here, certification is sought pursuant to
  10   Rule 23(b)(3), requiring that:
  11         [T]he court find[] that the questions of law or fact common to the
  12         members of the class predominate over any questions affecting
  13         only individual members [predominance], and that a class action
  14         is superior to other available methods for the fair and efficient
  15         adjudication of the controversy [superiority].
  16   Fed. R. Civ. P. 23(b)(3) (emphasis added). This Rule states that matters
  17   pertinent to whether the superiority requirement has been met include:
  18         a. The interest of members of the class in individually controlling the
  19            prosecution or defense of separate actions;
  20         b. The extent and nature of any litigation concerning the
  21            controversy already commenced by or against members of the
  22            class;
  23         c. The desirability or undesirability of concentrating the litigation
  24            of the claims in the particular forum; and
  25         d. The difficulties likely to be encountered in the management of a
  26            class action.
  27   Id (emphasis added).




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   1         Plaintiffs seek to certify a Nationwide Class and two subclasses, the
   2   California Subclass and the Virginia Subclass. The proposed Nationwide
   3   Class is defined as: “All United States residents who joined IJL US on or after
   4   September 12, 2019.” Plaintiffs Vrugtman and Kruzick seek to serve as class
   5   representatives for the National Class.
   6         The proposed California Subclass is defined as: “All California citizens
   7   who joined IJL US on or after September 12, 2019.” Plaintiff Kruzick seeks to
   8   serve as class representative for the California Subclass.
   9         The proposed Virginia Subclass is defined as: “All Virginia citizens
  10   who joined IJL Canada on or after September 12, 2019.” Plaintiff Vrugtman
  11   seeks to serve as class representative for the Virginia Subclass.
  12         Plaintiffs did not allege the National Class in the operative Second
  13   Amended Complaint (Dkt. No. 29), but subsequent discovery has confirmed
  14   that the scope and consistency of IJL’s fraud was even greater than Plaintiffs
  15   anticipated, and Plaintiffs concurrently move to file a Third Amended
  16   Complaint containing the class definition for the National Class. See United
  17   States ex rel. Terry v. Wasatch Advantage Grp., LLC, 327 F.R.D. 395, 406 (E.D.
  18   Cal. 2018) (recognizing appropriateness of leave to amend pleading to
  19   expand definition “11 days after close of class discovery”). IJL will suffer no
  20   prejudice from this amendment, as there is no relevant discovery that IJL
  21   could have sought arising out of such a Class that it did not already seek and
  22   obtain.
  23                                     IV.     ARGUMENT
  24      A. THE PROPOSED CLASSES SATISFY THE REQUIREMENTS OF
  25         RULE 23(a)
  26         1. The Members of the Proposed Classes Are So Numerous That
  27             Joinder Is Impracticable
  28         The    action   satisfies    Rule    23(a)(1)’s   numerosity   requirement.



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   1   Numerosity is satisfied where the members of the class are “so numerous
   2   that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). A class
   3   of “at least forty members” is large enough that it “presumptively satisfies
   4   the numerosity requirement.” Torres v. Air to Ground Services, Inc., 300 F.R.D.
   5   386, 398 (C.D. Cal. 2014); Tait v. BSH Home Appliances Corp., 289 F.R.D. 466,
   6   473–74 (C.D. Cal. 2012); Capaci v. Sports Rsch. Corp., No. CV193440FMOFFMX,
   7   2022 WL 1133818, at *5 (C.D. Cal. Apr. 14, 2022). The Class has, by IJL’s own
   8   admission, at least 1,814 members in the California and Virginia subclasses
   9   alone, and as many as         members or more Nationwide, who combined
  10   have likely paid more than $17.3 million. (Ex. O, IJL’s Responses to Plaintiffs’
  11   Interrogatories, at 8.) This number, more than 45 times a figure that as a
  12   matter of law presumptively satisfies numerosity, is more than enough to
  13   satisfy the numerosity requirement.
  14         Even aside from the number—which is more than enough to satisfy
  15   numerosity—the makeup and national distribution of the Classes makes it
  16   impracticable and unlikely that any substantial members of the Classes
  17   would bring suit on their own. In re Rubber Chemicals Antitrust Litig., 232
  18   F.R.D 346, 350–51 (N.D. Cal. 2005) (recognizing that a court “may make
  19   common sense assumptions to support a finding that joinder would be
  20   impracticable”). IJL targets “busy professionals” for highly personal
  21   matchmaking services, and even advertises the private nature of its services.
  22   (Ex. C at IJL000347, IJL000351, IJL000353, IJL000355, IJL000357, IJL000359; Ex.
  23   D at IJL000325, IJL000332; Ex. E at IJL000338–339, IJL000341; and Ex. F at
  24   IJL000342–345.) Indeed, as Plaintiff Vrugtman explained at her deposition,
  25   she had been “very private about [her] association with IJL,” and had not
  26   even shared it with her family because her “private life should be private,”
  27   and was “very upset” that she had been forced to bring this public suit. (Ex.
  28   L at 23:3–25.) Against this, IJL charges amounts that, while unconscionably



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   1   high for the services it actually provides (which have no value at all), are not
   2   high enough to justify individual litigations: Plaintiffs Vrugtman,
   3   Gillingwater, and Kruzick respectively paid $2,495, $6,160 Canadian
   4   (currently approximately $4,599 USD), and $2,595 for their IJL memberships.
   5   (Ex. O at 8.) It is thus not realistic that individual members of the Classes
   6   would bring separate suits in realistic number to seek redress. The Classes
   7   satisfy numerosity.
   8         2. There Are Questions of Law or Fact Common to the Members of
   9            the Classes
  10         The Rule 23(a)(2) commonality requirement is met. Rule 23(a)(2)
  11   requires “questions of law or fact common to the class.” Fed. R. Civ. P.
  12   23(a)(2). This is a “limited burden,” where a plaintiff need not show that
  13   “even a preponderance” of questions in the case are capable of class-wide
  14   resolution: all that is required is “a single common question.” Want v. Chinese
  15   Daily News, Inc., 737 F.3d 538, 544 (9th Cir. 2013).
  16         Here, numerous common questions exist. Indeed, most, or even all of
  17   the material questions to the claims of members of the Classes are common.
  18   These include, but are not limited to:
  19         • Did IJL make false and misleading representations to members of
  20            the Classes as to the nature of quality of the dating service that IJL
  21            provided to members of the Classes?
  22         • Does IJL fraudulently induce members of the Classes to join its
  23            service through such misrepresentations?
  24         • Did IJL’s service systematically fail to provide the services that it
  25            promised to its customers?
  26         • Did the service IJL provide have any value at all?
  27   These questions are not only common to the Classes and subject to class-wide
  28   resolution, they in fact are the principle questions at issue in this lawsuit and



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   1   will apply the same to all members of the Classes. As discussed further below
   2   in Plaintiffs’ discussion of Rule 23(b)(3) (infra IV.B), these common questions
   3   predominate over individual issues. But such predominance is not necessary
   4   to show commonality, only that there exists one more common questions
   5   subject to class-wide adjudication. The Classes satisfy commonality.
   6         3. The Claims of Plaintiffs are Typical of the Claims of Other
   7            Members of the Classes
   8         Rule 23(a)(3)’s typicality requirement is satisfied. Rule 23(a)(3) requires
   9   that the claims of the representative Plaintiffs are “typical” of the claims of
  10   members of the Classes. Fed. R. Civ. P. 23(a)(3). This standard is “permissive”
  11   and requires only that the lead Plaintiffs’ claims be “reasonably co-extensive”
  12   with (but “need not be substantively identical” to) those of absent class
  13   members. Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir. 2014); see Armstrong v.
  14   Davis, 275 F.3d 849, 869 (9th Cir. 2001) (typicality found where all plaintiffs
  15   suffered deprivation of “services, programs or activities,” or failed to receive
  16   the full benefits of such services provided by a prison board).
  17         Plaintiffs’ claims are typical of and nearly identical to those of other
  18   members of the Classes. Plaintiffs, like members of all the Classes, suffered
  19   harm from IJL’s total failure to provide the services that it promised to
  20   customers. All three Plaintiffs—like the thousands of other members of the
  21   Classes—signed up for IJL based on material misrepresentations as to the
  22   nature of IJL’s service. All members of the Classes suffered the same injury:
  23   they signed up for IJL’s service based on representations that it provided
  24   individualized matchmaker services, while IJL did not provide that service
  25   to any of its customers, because IJL is structurally designed to be unable to
  26   provide such services. The Classes satisfy typicality.
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   1         4. Plaintiffs will Fairly and Adequately Protect the Interests of the
   2            Classes
   3      Plaintiffs Vrugtman and Kruzick are adequate plaintiffs. Rule 23(a)(4)
   4   requires a showing that the representative plaintiffs will “fairly and
   5   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This
   6   requires (1) that Plaintiffs and their counsel lack conflicts with other members
   7   of the Classes, and (2) that Plaintiffs and their counsel will prosecute the
   8   action vigorously on behalf of the Classes. Ellis v. Costco Wholesale Corp., 657
   9   F.3d 970, 985 (9th Cir. 2011); Hanlon v. Chrysler, 150 F.3d 1011, 1019 (9th Cir.
  10   1998) (lead plaintiffs adequate because individuals not divided into
  11   conflicting discrete categories, small differences existed in damages and
  12   potential remedies, and counsel competent and prepared to try the case).
  13   Adequate representation is “usually presumed” in the “absence of contrary
  14   evidence.” Californians for Disability Rights, Inc. v. Cal. Dep’t of Transp., 249
  15   F.R.D 334, 349 (N.D. Cal. 2008); Willitis v. City of Los Angeles, No. CV 10-05782
  16   CBM, WL 7767305 (C.D. Cal. Jan. 3, 2011) (citing Newberg on Class Actions
  17   § 7:24 at 78).
  18         The answers to both questions favor certification here. Plaintiffs have
  19   no conflict with any of the Classes. Plaintiffs share a common interest with
  20   the Classes, they have suffered the same injuries, and their claims are typical
  21   of those other members of the Classes.
  22      B. THE PROPOSED CLASSES SATISFY THE PREREQUESITES OF
  23         RULE 23(b)(3)
  24         The Classes satisfy both requirements of Rule 23(b)(3), predominance
  25   and superiority. First, the common questions of law and fact predominate
  26   over individual questions, such that it is most efficient to resolve the claims
  27   of all members of the Classes in a single adjudication. This is not a dispute
  28   arising out of individual IJL employees making false representations to



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   1   individual clients. This is a case where IJL, through employees acting within
   2   the scope of their employment and following IJL’s comprehensive training,
   3   consistently promised its customers a service that it did not and could not
   4   provide without a complete overhaul to its business model. And this is
   5   shown from common proof, including IJL’s advertisements, training
   6   material, internal client clients, and testimony of its senior executives.
   7         Second, a class action is superior to other methods for the fair and
   8   efficient adjudication of this controversy. In addition to the common issues
   9   of fact, discovery has shown that IJL is surprisingly efficient in its fraud,
  10   meaning that the universe of class-wide proof is quite small, and the overlap
  11   in potential individual actions would be substantial. Despite having
  12   thousands of active users at any given time, IJL employs only about 30
  13   salespersons (or “dating specialists”) and 15 matchmakers. (Ex. B at 41:25–
  14   42:5.) IJL recruits customers based on a small set of uniform advertising (see
  15   Exs. C, D, E, F) and trains its salespersons and matchmakers based off of a
  16   small set of uniform training material with minor changes over the class
  17   period (see Ex. H). And as Plaintiffs explained at their depositions in the face
  18   of IJL’s counsel repeatedly trying to get them to concede that their disputes
  19   with IJL were based on specific individualized misrepresentations from
  20   specific staff, their complaints of IJL’s service went to the fundamental nature
  21   of the services that IJL offered versus what it advertised. These are
  22   experiences that, by the very nature of IJL’s services, would have been shared
  23   Class-wide. The Class satisfies the requirements of Rule 23(b)(3).
  24         1. Common Questions of Law and Fact Predominate
  25         The Class satisfies predominance. Rule 23(b)(3) requires that
  26   “questions of law or fact common to class members predominate over any
  27   questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).
  28   Predominance does “not” require that “each element” of the claims is



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   1   susceptible to class-wide proof, only that they “predominate over any
   2   questions affecting only individual class members.” Amgen Inc. v. Connecticut
   3   Ret. Plans and Trust Funds, 568 U.S. 455, 569 (2013) (emphasis in original). But
   4   here, each element of Plaintiffs’ consumer protection claims—which the
   5   Classes as a whole and each subclass assert—is subject to class-wide proof.
   6   The Classes satisfy predominance.
   7         A. The Classes All Satisfy Predominance
   8         The questions of law and fact concerning the Classes are
   9   predominantly class wide. The National Class asserts a claim under the
  10   Nevada Deceptive Trade Practices Act (“NDTPA”), Nev. Rev. Stat. 598.0923,
  11   which is susceptible to class-wide proof. Picus v. Wal-Mart Stores, Inc., 256
  12   F.R.D. 651, 657 (D. Nev. 2009) (recognizing likelihood that Nevada Supreme
  13   Court would permit class-wide inference of reliance on NDTPA claims). The
  14   elements of an NDTPA claim are (1) an act of consumer fraud by the
  15   defendant that (2) caused (3) damage to the plaintiff. Id. at 658.
  16         The California Subclass asserts claims under the California Legal
  17   Remedies Act (“CLRA”) and Unfair Competition Law (“UCL”), which have
  18   substantially the same elements as the NDTPA, articulated as “whether
  19   members of the public are likely to be deceived.” Tait, 289 F.R.D. at 480.
  20   Courts “routinely certify consumer class actions” under the CLRA and UCL.
  21   Id.
  22         The Virginia Subclass asserts claims under the Virginia Consumer
  23   Protection Act (“VCPA”), Va. Code § 59.1, et seq., which apples where there
  24   exists “a false representation, of material fact, made intentionally and
  25   knowingly, with intent to mislead, reliance by the party misled, and resulting
  26   damage.” In re Toyota RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d 1067, 1106
  27   (N.D. Cal. 2021). While Virginia law prohibits class actions under the VCPA,
  28   courts in California and elsewhere recognize that this is a “procedural” bar,



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   1   and “does not apply” to claims brought in California federal courts. In re
   2   Myford Touch Consumer Litig., No. 13-CV-03072-EMC, 2016 WL 7734558, at
   3   *27 (N.D. Cal. Sept. 14, 2016) (certifying class under VCPA).
   4         i.    Defendants Committed Uniform Acts of Consumer Fraud
   5         First, Defendants have committed acts of consumer fraud by falsely
   6   purporting to offer a “personalized matchmaking service” to customers. This
   7   representation is one that is uniformly made to IJL customers through all of
   8   IJL’s advertisements, including its website which refers to it as a
   9   “personalized matchmaking service,” the “world’s #1 personalized
  10   matchmaking service,” or materially similar terms. (Ex. C, D, E, F.) This
  11   representation is also part of what IJL itself calls its sales “script,” which
  12   salespersons are expected to deliver and which includes at the start the
  13   phrase, “first and foremost we are a personalized matchmaking service.” (Ex. H
  14   at IJL000007 (emphasis added).) IJL emphasizes this heavily—its sales script
  15   two sentences later reiterates that, “One of the reasons we’re so successful is
  16   because we are a very personal matchmaking service so you will be working one-
  17   on-one with your very own matchmaker.” (Id. (emphasis added).) As Plaintiff
  18   Kruzick noted at her deposition, this term is understood to have a specific
  19   meaning, including that matchmaker will “find someone that aligns with” a
  20   client’s “desires and values.” (Ex. M at 70:13–17 (“Q. Okay. So in your mind
  21   then, you’re tasking IJL not only with finding potential dates, but also finding
  22   chemistry between you and potential dates; is that correct? A. Matchmakers.
  23   That’s their job.”).
  24         But IJL does not offer a personalized matchmaking service. As IJL’s
  25   CEO admitted at her deposition, they currently have between
  26   “active” clients, meaning a client who is “actively dating” with IJL, with IJL
  27   matchmakers “calling them and presenting matches to them.” (Ex. B at 45:4–
  28   9, 49:10–23.) This is a limited category and does not include clients who either



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   1   actively place their membership on “hold” due to either pursuing further
   2   dates with a match or simply fail to respond to IJL “consecutively for three
   3   days” and are placed on inactive “hold” status. (Id. at 45:10–17.)
   4         However, IJL employs only 15 matchmakers, who are each
   5   “responsible for overseeing the entire client dating experience” for those
   6   active clients, meaning that each matchmaker is responsible for
   7                               , active clients at any given time. (Id. at 43:1–16.)
   8   These matchmakers are not only responsible for selecting potential dates, but
   9   also handling—every week, for every client—all the logistics of setting up the
  10   dates and related client communication, including “following up” with
  11   clients, “sending date confirmations,” “reminding the clients of the date,”
  12   “following up for date feedback,” “managing any client concerns,” and
  13   “anything that has to do with the client experience.” (Id.) And as IJL’s own
  14   client files, which contain communication logs, show, even simply
  15   scheduling dates for a single individual often requires a substantial amount
  16   of communication to confirm availability due to the schedules of its busy
  17   clients. (Ex. I at IJL000400–409.) To even attempt to do this individualized
  18   work would take more than the                 per week that IJL matchmakers
  19   have on average to attend to each customer’s needs.
  20         All this alone is enough to show common consumer fraud: a reasonable
  21   juror could find that consumers signing up for a “personalized matchmaking
  22   service,” and paying thousands of dollars for a set number of dates, would
  23   understand that to include a more personalized service than communication
  24   with a “matchmaker” who is serving as many as 300 other active clients at
  25   the same time. Plaintiff Vrugtman explained her typical experience with
  26   these too-busy matchmakers, who failed to provide their promised service
  27   while still downplaying their actual caseload, and often switching
  28   matchmakers to make matters even worse:



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    1         Q. But [IJL matchmakers] were – they stood ready to try to help
    2         you find potential dates. Isn’t that right?
    3         A. I wouldn’t say that. I can’t say that. [Matchmaker] Udonna
    4         informed me she had 43 other clients. She later told me that she
    5         had more than that. She had 43 other clients, and she couldn’t
    6         spend all of her time on me. That is what she said.
    7         That – that is how I felt I’m not getting the service, I’m not going to
    8         get the service. And every three or four weeks, I got a new
    9         matchmaker. That is not providing the personalized, customized
   10         service,   true    human       interaction,    regular    interaction,
   11         communication that IJL promises as its contract – contract in
   12         quotes – with its clients.
   13         And at that point, I had completely given up on any willingness,
   14         readiness or ability on the part of IJL.
   15   (Ex. L at 101:4–20.)
   16         But worse still, IJL achieves this economy of scale through a matching
   17   process that makes personalized matches not simply difficult, but
   18   impossible. Due to the workload (and, as Plaintiff Vrugtman experienced,
   19   frequent switching of matchmakers), IJL matchmakers perform their
   20   matching based off of information in their client files, which are filled in at
   21   client intake. (Ex. K at IJL000379; Ex. I at IJL000406; Ex. J at IJL000393.) The
   22   relevant portions consist largely of a selection of generic “interests” which
   23   IJL prompts clients with during intake—for instance, “hiking,” “general
   24   fitness,” “reading,” and “writing.” (Ex. J at IJL000393.) These forms do not
   25   allow individualized filling in of additional interests, only to indicate
   26   whether an interest is “strong” or “mild,” with limited additional comments.
   27   (Ex. K at IJL000379; Ex. I at IJL000406; Ex. J at IJL000393.) These additional
   28   fields are rarely used in any meaningful manner: of the 34 (largely



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    1   overlapping) interests in the client files of Plaintiffs, all but one (“general
    2   fitness” for Plaintiff Vrugtman) was listed as a “strong interest.” (Id.) This is
    3   the case even when the additional comments in the file conflict with a
    4   supposed “strong” interest in an area: Plaintiff Vrugtman’s file indicates a
    5   “strong interest” in “hiking,” but clarifies in notes that that only means
    6   “walks in the park,” and Plaintiff Kruzick’s file indicates a “strong interest”
    7   in “fishing,” but in notes indicates, “sign her up for an occasional trip.” (Id.
    8   (emphasis added).) This industrial approach to matchmaking—which
    9   provides no more personalized matching than a dating app, where an
   10   algorithm or technology would almost certainly provide more of a service
   11   than IJL does—is not consistent with IJL’s representations to provide a
   12   personalized matchmaking service.
   13         ii.   Defendants’ Uniform Acts of Consumer Fraud Caused Inform Injury
   14               to Plaintiffs and the Class
   15         Defendants’ failure to provide personalized service also harmed the
   16   Class in a uniform way. IJL’s perfunctory note-taking and matching system
   17   is designed not only to streamline the work required by its staff, but to allow
   18   IJL to create the appearance of personalized matchmaking without actually
   19   providing the promised service while “matching” customers as quickly and
   20   easily as possible. But this process utterly fails to provide the promised result
   21   and cannot do so.
   22         Plaintiff Vrugtman’s experience is typical—a professional writer with
   23   a PhD, it was very important to her that she be matched with people who
   24   shared her passion for reading, and she conveyed that to IJL:
   25         I’m a writer. I’m a reader. I’m an editor and a publisher. Writing
   26         and reading are important to me. They are a part of – they are not
   27         just hobbies. They are sincere interests that I have. I indicated – and




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    1         I’ll bet my profile with IJL indicates that reading is an important
    2         element. I want someone who is a reader.
    3   (Ex. L at 48:19–49:17 (emphasis added).) But despite Plaintiff Vrugtman
    4   conveying these criteria to IJL, her profile did not reflect it in a way that
    5   allowed IJL to take meaningful action. Instead, among 13 categories of
    6   interest (12 of which were listed as “strong interest” in her profile), was
    7   inclusion of “reading” as an interest with no further explanation, and
    8   “writing” with the note, “[she] is a writer and writes [n]ovels”). (Ex. J at
    9   IJL000394.)
   10         As would be expected by this lack of information, Plaintiff Vrugtman,
   11   like others, was matched with people who completely failed to match her
   12   stated criteria. On one match, Plaintiff Vrugtman’s date, upon seeing a book
   13   that Vrugtman had been reading before he arrived, commented that it had “a
   14   lot of pages.” (Ex. L at 48:19–49:17.) When in response, Vrugtman asked her
   15   date, point blank, “Do you read?” her date responded that he read “[o]nly
   16   technical journals” and “only the few pages that” that he “need[ed]” in order
   17   to do his job. (Id.) As Plaintiff Vrugtman testified in conclusion when
   18   explaining this date at her deposition: “That is not a match.” (Id.)
   19         Such failure to provide matches is the natural result of IJL’s matching
   20   process, to an extent that even if a client did find a match acceptable, it was
   21   essentially by chance, as IJL completely fails to provide the “personalized
   22   matchmaking” service it promises. IJL’s service is so deficient that it offers no
   23   better service than a free dating app, such that each Class member is
   24   uniformly harmed.
   25         iii.    The Injury of Plaintiffs and the Class Are Discernable on a Class-Wide
   26                 Basis as the Value of their IJL Memberships
   27         The third element of the NDTPA, damages, can also be discerned on a
   28   class-wide basis. Given IJL’s utter failure to provide its promised



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    1   personalized matchmaking, a reasonable juror could find that the value of its
    2   service is, on a class-wide basis, zero. Accordingly, the damages to each Class
    3   member is the amount that the Class member paid for IJL’s service, a figure
    4   that IJL tracks, including in its client files. (See Ex. I at IJL000400; Ex. J at
    5   IJL000387; Ex. K at IJL000364.)
    6         All elements of the NDTPA—consumer fraud, causation, and
    7   damages—can be proven on a class-wide basis. The Classes satisfy
    8   predominance.
    9         2. Class Action is the Superior Method of Adjudicating the Claims
   10            Asserted Here.
   11         The Classes satisfy superiority. Rule 23(b)(3) requires that a class action
   12   be “superior to other available methods for fairly and efficiently adjudicating
   13   the controversy.” Fed. R. Civ. P. 23(b)(3). This test looks to factors including
   14   whether the members of the Classes have an interest in individually
   15   controlling the prosecution of separate actions; the extent to which litigation
   16   concerning the controversy has already begun, the desirability of
   17   concentrating the litigation into a particular forum, and any likely difficulties
   18   in managing the action. Fed. R. Civ. P. 23(b)(3)(A)–(D).
   19         Each of the superiority factors supports certifying this as a class action.
   20   First, since members of the Classes are located in geographically diverse
   21   areas, all members of the Classes have an interest in one consolidated class
   22   action that would prevent separate and possibly scattered actions. In
   23   addition, without class certification, most members of the Classes would be
   24   discouraged from even seeking relief because their potential recovery would
   25   be vastly outweighed by the costs of pursuing litigation. See Hanlon, 150 F.3d
   26   at 1023 (superiority found in class action where in most individual cases,
   27   “litigation costs would dwarf potential recovery”). Second, Plaintiffs are
   28   unaware of any ongoing litigation regarding the issues involved in this case.



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    1         Third, the Central District of California is the best forum for this case:
    2   a substantial part of the events from which this claim arises occurred in this
    3   District and IJL resides in this District. See Callaway Golf Corp. v. Royal
    4   Canadian Golf Assn., 125 F. Supp. 2d 1194, 1199 (C.D. Cal. 2000) (traditional
    5   bases for jurisdiction include in-state physical presence and domicile);
    6   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 801-02 (9th Cir. 2004)
    7   (specific non-resident jurisdiction requires defendant must purposefully
    8   direct activities towards forum or perform an act availing himself of forum’s
    9   laws, the claim must arise out of these activities, and court’s exercise of
   10   jurisdiction must be reasonable). IJL conducts significant business in this
   11   District and in the State of California. Fourth, there are no management or
   12   administration issues that would cause any difficulties going forward before
   13   or during trial. Class certification is simply the superior and very likely only
   14   way to preserve the rights of the members of all the Classes, and it provides
   15   the most practical and efficient means to do so.
   16      C. THE COURT SHOULD APPOINT BALESTRIERE FARIELLO AND
   17         KBK AS CLASS COUNSEL
   18         Plaintiffs are represented in this action by Balestriere Fariello and KBK.
   19   Both Balestriere Fariello and KBK have consideration experience in litigation
   20   class actions, and Balestriere Fariello has the unique experience of having
   21   previously litigated against IJL and achieved a favorable settlement. For the
   22   reasons further set forth in the Declarations of John G. Balestriere and
   23   Anastasia K. Mazella, filed concurrently herewith, the Court should appoint
   24   Balestriere Fariello and KBK as Class Counsel pursuant to Rule 23(g).
   25      D. THE COURT SHOULD GRANT LEAVE FOR PLAINTIFFS TO
   26         FILE THE THIRD AMENDED COMPLAINT
   27         The Court should also permit Plaintiffs to file a Third Amended
   28   Complaint with an updated class definition to include a National Class,



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    1   which Plaintiffs attach hereto in clean (Ex. P) and redline (Ex. Q) versions.
    2   California courts have recognized the appropriateness of amendment in
    3   similar situations. See United States ex rel. Terry v. Wasatch Advantage Grp.,
    4   LLC, 327 F.R.D. 395, 406 (E.D. Cal. 2018) (recognizing appropriateness of
    5   leave to amend pleading to expand class definition “11 days after close of
    6   class discovery” and 12 days after Rule 30(b)(6) deposition). IJL will suffer no
   7    prejudice from such an amendment, nor will it cause any undue delay
    8   (Indeed, it will allow resolution of all claims against the Company in one
    9   action rather than result in the almost inevitable prosecution of a new action
   10   against IJL.) The Court should accordingly allow Plaintiffs to file the Third
   11   Amended Complaint.
   12                                   V.   CONCLUSION
   13         IJL fraudulently misrepresents the quality of its services to all of its
   14   customers across the Nation. This case must proceed as a class action so
   15   Defendants will stop their fraud and compensate all members of the Classes
   16   for their losses. Vrugtman and Gillingwater respectfully requests that this
   17   Court issue an Order:
   18         1. Certifying this action to proceed as a class action pursuant to
   19            Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure;
   20         2. Appointing Vrugtman and Kruzick to serve as representatives of
   21            the National Class; Vrugtman as representative as well for the
   22            Virginia Subclass; and Kruzick as well as representative of the
   23            California Subclass.
   24         3. Appointing Balestriere Fariello and KBK to serve as class counsel
   25            pursuant to Rule 23(g) of the Federal Rules of Civil Procedure;
   26         4. Granting Plaintiffs leave to file the Third Amended Complaint.
   27         5. Granting such other and further relief as the Court deems just
   28            and proper.



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    1   Dated: New York, New York
    2          April 17, 2023
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